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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                          )
SHIRA PERLMUTTER,                         )
                                          )
           Plaintiff,                     )
                                          )
     v.                                   )     No. 1:25-cv-01659-TJK
                                          )
TODD BLANCHE, et al.,                     )
                                          )
           Defendants.                    )
                                          )

               DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
             MOTION FOR A TEMPORARY RESTRAINING ORDER
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                                         INTRODUCTION

       The Constitution creates three branches of Government. There is Congress, the Executive,

and the Judiciary. There is no fourth constitutional category reserved for an indeterminate-and-

multiplying number of autonomous federal organizations. That simple principle suffices to deny

Plaintiff’s motion.

       The President of the United States removed Carla Hayden from her position as Librarian of

Congress and designated the Deputy Attorney General, Todd Blanche, as acting Librarian. The

President then removed Plaintiff, Shira Perlmutter, from service as the Register of Copyrights and

Director of the U.S. Copyright Office—a decision that was ratified by Mr. Blanche in his role as

acting Librarian, including through Mr. Blanche’s appointment of Paul Perkins to that role.

Plaintiff now seeks a temporary restraining order asking this Court to reinstate Plaintiff to her prior

position as Register of Copyrights. The Court should deny the motion.

       The President had the power to remove the Librarian and designate an acting replacement.

The Library of Congress is not an autonomous organization free from political supervision. It is

part of the Executive Branch and is subject to presidential control, according to the strictures of the

Federal Vacancies Reform Act (“FVRA”).             That law imposes parameters on presidential

designation of acting officials to fill vacancies in an “Executive agency,” which includes “an

establishment in the executive branch[.]” 5 U.S.C. §§ 104, 105. The Library of Congress fits

squarely in that definition. The Librarian of Congress is appointed by the President, with the

advice and consent of the Senate, see 2 U.S.C. § 136-1(a), “is subject to unrestricted removal by

the President,” and the Library exercises powers “generally associated in modern times with

executive agencies,” Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd., 684 F.3d 1332,

1341–42 (D.C. Cir. 2012).       Hence the D.C. Circuit’s easy conclusion that the Library “is

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undoubtedly a component of the Executive Branch.” Id. at 1342 (citation omitted).

       To the extent the FVRA does not apply, of course, the President’s constitutional power to

supervise the Library is greater—not less. The President has the constitutional power—indeed the

obligation—to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. That

power includes the power to designate subordinate officials to supervise components of the

executive branch when they are otherwise leaderless. The FVRA does not supply the President

the power to designate officials; it constrains his underlying constitutional power by imposing

precise rules on how the President may exercise his designation authority in certain contexts. The

President’s power to designate Mr. Blanche comes from the Constitution, not any statute. And it

applies here if the FVRA is silent.

       As for Plaintiff, her removal was lawful. Because Mr. Blanche is properly serving as acting

Librarian, he had clear authority to remove the Register of Copyrights, as he did in designating Paul

Perkins as acting Register. In addition, the President removed the Register directly—a removal

that likewise is within his constitutional power where, as at that time, there is no Librarian. The

general rule is that the power to remove tracks the power to appoint; thus, the Librarian normally

has the power to remove the Register. But if there is no Librarian and the President cannot

designate an acting Librarian (as Plaintiff argues), the President’s removal authority extends to

inferior officers like the Register.     Again, the Constitution does not countenance federal

organizations free from all political control, and where there is no principal officer to effectuate

removals, that power lies in the ultimate repository of executive power—the President.

       Finally, Plaintiff’s motion should be denied for the independent and sufficient reasons that

she has neither demonstrated irreparable harm absent a temporary restraining order nor shown that

the equities favor that relief. Plaintiff has no right to perpetual service as Register of Copyrights,

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and her loss of employment is not irreparable absent a “genuinely extraordinary situation.”

Sampson v. Murray, 415 U.S. 61, 92 n.68 (1974). Plaintiff argues she is being “deprive[d] of her

‘statutory right to function’” as Register of Copyrights, but the Supreme Court just rejected that

precise theory of injury as a basis for emergency injunctive relief. Trump v. Wilcox, 605 U.S. __,

No. 24A966, 2025 WL 1464804, at *1 (S. Ct. May 22, 2025). The other injuries Plaintiff

postulates are not her injuries, but supposed institutional injuries to the Library or to Congress—

injuries that cannot support her request for judicial reinstallation to office. And Plaintiff makes no

claim that the U.S. Copyright Office is somehow in jeopardy, such that she could not be reinstated,

if she were to prevail, after this litigation has run its course.

        The Court should deny the motion.

                                           BACKGROUND

        The Library of Congress is a statutorily created entity that is headed by a Librarian, who is

appointed by the President with the advice and consent of the Senate. 2 U.S.C. § 136-1(a). The

Library is composed of several divisions that perform a variety of distinct functions, including the

U.S. Copyright Office. That office is headed by the Register of Copyrights and Director of the

U.S. Copyright Office, who is appointed by the Librarian. 17 U.S.C. § 701(a). That office is

authorized “to promulgate copyright regulations, to apply the statute to affected parties, and to set

rates and terms case by case[.]” Intercollegiate Broad. Sys., Inc., 684 F.3d at 1342; see 17 U.S.C.

§§ 702, 708. “All regulations established by the Register … are subject to the approval of the

Librarian of Congress.” 17 U.S.C § 702.

        On May 8, 2025, the President exercised his authority under Article II of the Constitution

to remove Carla Hayden from her position as Librarian of Congress. Compl. ¶ 17 (ECF No. 1).

The next day, the President designated Defendant Todd Blanche, the current Deputy Attorney

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General, as acting Librarian of Congress and “directed [him] to perform the duties of th[at] office.”

ECF No. 2-5, at 2. In designating Mr. Blanche as acting Librarian, the President invoked his

authority under Article II of the Constitution, both generally and as addressed in applicable federal

statutes, including the FVRA, 5 U.S.C. §§ 3345–3349. See id.

       The FVRA governs the President’s designation of an acting official for a Senate-confirmed

position in an “Executive agency” when the officer previously holding that position “dies, resigns,

or is otherwise unable to perform the functions and duties of the office….” 5 U.S.C. § 3345(a).

The term “Executive agency” includes an “independent establishment.” Id. §§ 104, 105. An

“independent establishment,” in turn, includes “an establishment in the executive branch (other than

the United States Postal Service or the Postal Regulatory Commission).” Id. § 104(1). The

definition excludes “an Executive department, military department, Government corporation, or

part thereof, or part of an independent establishment[.]” Id. The statute also expressly designates

the Government Accountability Office as an “independent establishment.” Id. § 104(2). For

governmental entities that fall within the FVRA, that statute delineates the “exclusive means for

temporarily authorizing an acting official to perform the functions and duties” of that entity, except

in limited circumstances. Id. § 3347(a).

       On May 10, 2025, the President removed the then-Register of Copyrights, Plaintiff Shira

Perlmutter. Compl. ¶ 20; see ECF No. 2-4, at 1. Mr. Blanche, as acting Librarian, then appointed

Brian Nieves and Defendant Paul Perkins to serve as the acting Principal Deputy Librarian of

Congress, and acting Register of Copyrights, respectively. Compl. ¶ 23; see ECF No. 2-5, at 1.

By appointing Mr. Perkins as acting Register of Copyrights, Mr. Blanche ratified the President’s

removal of Plaintiff. Compl. ¶ 23.



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        On May 22, Plaintiff filed this lawsuit challenging her removal from serving as Register of

Copyrights and moved for a temporary restraining order enjoining Mr. Blanche from serving as

acting Librarian of Congress, prohibiting Mr. Perkins from serving as acting Register of Copyrights,

and reinstating Plaintiff as Register of Copyrights. See Mot. for TRO, ECF No. 2; Mem. in Supp.

of Pl.’s Mot. for TRO (Pl.’s Mem.”), ECF No. 2-1.

                                        LEGAL STANDARD

        Both a temporary restraining order and a preliminary injunction are “extraordinary

remed[ies] never awarded as of right.” Winter v. Nat. Res. Def. Council, 555 U.S. 7, 24 (2008).

A party seeking preliminary relief must make a “clear showing that four factors, taken together,

warrant relief: likely success on the merits, likely irreparable harm in the absence of preliminary

relief, a balance of the equities in its favor, and accord with the public interest.” League of Women

Voters v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016) (quoting Pursuing Am.’s Greatness v. FEC, 831

F.3d 500, 505 (D.C. Cir. 2016)). The last two factors merge when the government is the opposing

party. Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 920 F.3d 1, 10 (D.C. Cir.

2019). “[P]laintiffs bear the burden of persuasion on all four preliminary injunction factors to

secure such an ‘extraordinary remedy.’” Open Top Sightseeing USA v. Mr. Sightseeing, LLC, 48

F. Supp. 3d 87, 90 (D.D.C. 2014). “The decision of whether to award a TRO is analyzed using the

same factors applicable to preliminary injunctive relief[.]” Chef Time 1520 LLC v. Small Bus.

Admin., 646 F. Supp. 3d 101, 109 (D.D.C. 2022) (citation omitted).

        Moreover, where, as here, a party “seeks a mandatory injunction—to change the status quo

through action rather than merely to preserve the status quo—the moving party typically must show,

not only that it is likely to succeed on the merits, but that it is “‘clearly’ … entitled to relief or that

extreme or very serious damage will result.” Farris v. Rice, 453 F. Supp. 2d 76, 78 (D.D.C. 2006).

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                                          ARGUMENT

I.     Plaintiff has not shown substantial likelihood of success on the merits.

       The Court should deny Plaintiff’s request for a temporary restraining order because she has

failed to establish a likelihood of success on the merits, much less that she clearly will prevail on

the merits on either of her counts. English v. Trump, 279 F. Supp. 3d 307, 316 (D.D.C. 2018)

(“[F]ailure to show a likelihood of success on the merits is, standing alone, enough to” show that a

TRO is not warranted); Starbucks Corp. v. McKinney, 602 U.S. 339, 346 (2024).

       A.      The President lawfully designated Mr. Blanche as acting Librarian of Congress
               and Mr. Blanche ratified the President’s removal of Plaintiff from serving as
               Register of Copyrights (Count I).

       The President’s designation of Mr. Blanche as acting Librarian of Congress was lawful.

First, the Library of Congress is an “Executive agency” under the FVRA, and the President’s

designation of Mr. Blanche thus traveled an established path to designating an acting official under

the FVRA. Second, if the FVRA’s statutory limits on designating acting officials do not apply to

the Library of Congress, the President properly exercised his inherent authority under Article II to

designate Mr. Blanche. Either way, Mr. Blanche is properly serving as the acting Librarian of

Congress, and, as Plaintiff concedes, Mr. Blanche’s appointment of “Mr. Perkins to replace Ms.

Perlmutter as the acting Register of Copyrights and the Director of the U.S. Copyright Office …

served as Mr. Blanche’s ratification of the President’s decision to remove Ms. Perlmutter from her

position.” Compl. ¶ 23.

               1.      Mr. Blanche was lawfully designated as acting Librarian of Congress
                       pursuant to the Federal Vacancies Reform Act.

       The President lawfully designated Mr. Blanche as the acting Librarian of Congress pursuant

to the FVRA. Where that statutory structure applies, Presidents have the power to fill a vacancy

in a covered Senate-confirmed office by designating, among others, “a person who serves in an
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office for which appointment is required to be made by the President, by and with the advice and

consent of the Senate, to perform the functions and duties of the vacant office temporarily in an

acting capacity subject to the time limitations of section 3346.” 5 U.S.C. § 3345(a)(2). Mr.

Blanche is the Senate-confirmed Deputy Attorney General and so plainly qualifies. And there is

no dispute that former-Librarian Hayden is now “unable to perform the functions and duties of

[that] office.” Id. § 3345(a).

       The FVRA allows designation of officials like Mr. Blanche wherever it applies, and it is

clear that statutory regime applies here. The FVRA applies to any “Executive agency,” 5 U.S.C.

§ 3345(a), which is elsewhere defined as “an Executive department, a Government corporation, and

an independent establishment,” id. § 105. The term “independent establishment” is, in turn,

defined as “an establishment in the executive branch (other than the United States Postal Service or

the Postal Regulatory Commission) which is not an Executive department, military department,

Government corporation, or part thereof, or part of an independent establishment,” as well as “the

Government Accountability Office.” Id. § 104.

       The Library of Congress is an “independent establishment in the executive branch.”

Despite having “Congress” in its name, the Library wields executive functions that place it firmly

within this statutory language and subject to presidential supervision. Its organic statute makes the

President responsible for appointing with the advice and consent of the Senate (and reappointing)

the Librarian, see 2 U.S.C. § 136-1, and the President accordingly has the sole authority to remove

the Librarian, who is otherwise removable only through impeachment. See Intercollegiate Broad.

Sys., Inc., 684 F.3d at 1341. The President’s power to appoint and remove the Librarian—a power

he does not have over true congressional entities like the House Sergeant-at-Arms or the Senate

Parliamentarian—suffices to situate the Library within the executive branch.

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        Historical practice confirms what the Library’s appointment structure establishes. From

the early years of the Republic, the President has supervised tasks as mundane as which books the

Library purchases. See Library of Congress, Librarians of Congress, 1802-1974, at 20 (1977)

(describing President Jefferson as taking active oversight over the first Librarian’s purchase of books).

When Librarians and Presidents have not seen eye to eye, Presidents have removed Librarians, as

President Jackson did based on political differences with the Librarian at the time. See Library of

Congress,    George     Watterston    (1783-1854):      3rd    Librarian    of   Congress    1815-1829,

https://www.loc.gov/item/n83041676/george-watterston-1783-1854/ (last visited May 26, 2025) (“It

therefore is hard to believe that he was surprised on May 28, 1829, when newly elected President

Andrew Jackson, a Democrat, replaced him as Librarian with a fellow Democrat, John Silva Meehan,

a local printer and publisher.”).

        And of course, the Library has quintessential executive functions, particularly when it

comes to copyright.    The Library has the power to “promulgate copyright regulations, to apply the

statute to affected parties, and to set rates and terms case by case.” Intercollegiate Broad. Sys.,

Inc., 684 F.3d at 1342; see also 2 U.S.C. § 136 (empowering the Librarian to “make rules and

regulations for the government of the Library”).       The power to regulate or set rates is an executive

power—not a congressional one. As the D.C. Circuit has explained, these Library powers “are

ones generally associated in modern times with executive agencies rather than legislators”; hence

the Library’s constitutional status as “undoubtedly a ‘component of the Executive Branch.’”

Intercollegiate Broad. Sys., Inc., 684 F.3d at 1341–42 (quoting Free Enter. Fund v. Pub. Co. Acct.

Oversight Bd., 561 U.S. 477, 511 (2010)).       While the copyright regulations are promulgated by

the Copyright Office—the Office that Plaintiff seeks to reclaim here—“[a]ll regulations established

by the Register … are subject to the approval of the Librarian of Congress.” 17 U.S.C. § 702.

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And those regulations are subject to judicial review under the APA, like regulations promulgated

by any other executive-branch agency.     See id. § 701(e).

       Plaintiff disagrees but fails to grapple with the statutory text. As explained above, the

Library is an “independent establishment” under 5 U.S.C. § 104(a), so long as it resides “in the

executive branch”—a constitutional location that the provisions governing the Librarian, the

Library’s history, and the Library’s authorities, particularly in the Copyright Office, all point

directly toward. Plaintiff acknowledges that these features suffice to make the Library part of the

executive branch for constitutional purposes, see Intercollegiate Broad. Sys., Inc., 684 F.3d at 1341,

but says they are not enough to make it “an establishment in the executive branch” under the FVRA,

Pl.’s Mem. 6–7. But Plaintiff identifies no textual basis for cleaving a constitutionally executive

establishment out of the capacious statutory term “establishment in the executive branch.” The

more natural reading is that “executive branch” means the Constitution’s Executive Branch rather

than some alternative ersatz executive branch of indeterminate scope.

       Plaintiff makes much of the fact that the Library is codified under Title 2, see Pl.’s Mem. 7,

but it is “irrelevant that the Office of the Librarian of Congress is codified under the legislative

branch.”   Eltra Corp. v. Ringer, 579 F.2d 294, 301 (4th Cir. 1978). Such “code-grouping” cannot

be determinative of whether the Library of Congress “is executive” or not, Eltra Corp., 579 F.2d at

301, particularly in light of the Library’s clear executive functions.      Nor does it matter that

unrelated statutes like the Freedom of Information Act and the Administrative Procedure Act do not

include the Library of Congress.    Cf. Pl.’s Mem. 8.   Those statutes employ different terminology

than the FVRA to delineate the executive entities to which their provisions apply.      See 5 U.S.C.

§§ 552, 701–702 (applying to “agencies”).      Congress could have used the same word with the

same definition for all these different statutory schemes.       It did not, presumably because it

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recognized that each regime—the FVRA, the APA, and FOIA—have different purposes and

appropriately have different ambits.     Concerns that might have animated Congress’s decision on

the scope of the APA or FOIA have no relevance to the FVRA—a provision that regulates the

President’s authority to install acting officials to supervise executive branch entities. The Library

must answer to some politically accountable official, and the statutory text, the Library’s history,

and the Library’s possession of core executive power make clear that official is the President.

           The Library’s provision of services to Congress, see Pl.’s Mem. 9, is also immaterial, given

that Congress has not attempted to oust the President from supervision over the Library.             If

Congress wanted “a say” over who runs the Library on an acting basis, id.—beyond the substantial

“say” the FVRA already provides—it could have enacted a special statutory structure for acting

Librarians.     Indeed, that is precisely what Congress did for the Government Accountability

Office—another “independent establishment” with a presidentially appointed head that provides

services to Congress.     See 31 U.S.C. § 703(a)(1).    For the GAO, Congress prescribed a detailed

scheme to govern acting heads—including a statutorily prescribed succession and a requirement of

congressional involvement in choosing a nominee.        Id. § 703(a)(2), (c)(2).1

       Congress did none of this for the Library, instead leaving it within the same statutory

guardrails that govern the rest of the Executive Branch—the FVRA and its strictures on eligible

officials, duration of service, etc.   These statutory limitations impose significant congressional




       1
          The fact that the GAO is specifically listed in 5 U.S.C. § 104(b) does not detract from the
conclusion that the Library of Congress is “an establishment in the executive branch” under
§ 104(a). The GAO’s enabling statute states that the GAO “is an instrumentality of the United
States Government independent of the executive departments.” 31 U.S.C. § 702. Given that
language, Congress may well have thought it necessary to specifically list the GAO in 5 U.S.C.
§ 104(b) to avoid any argument that the language in the GAO’s enabling statute precludes it from
being considered “an establishment in the executive branch.”
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control over the President. And as detailed below, absent these strictures the President would have

more constitutional power to designate acting officials—not less.

                2.      Mr. Blanche’s designation as acting Librarian of Congress was
                        independently authorized by Article II of the Constitution.

        If Plaintiff were correct that the Library of Congress is not an “Executive agency” under the

FVRA, the President’s designation of Mr. Blanche as acting Librarian was a lawful exercise of the

President’s Article II authority.

        Article II of the Constitution provides that “the ‘executive Power’—all of it—is ‘vested in

a President,’ who must ‘take Care that the Laws be faithfully executed.’”   Seila Law LLC v. CFPB,

591 U.S. 197, 203 (2020) (quoting U.S. Const. art. II, § 1, cl. 1; id. § 3).     As the framers well

understood, “[i]f any power whatsoever is in its nature Executive, it is the power of appointing,

overseeing, and controlling those who execute the laws.”       Free Enter. Fund, 561 U.S. at 492

(quoting 1 Annals of Cong. 463 (1789) (Madison, J.)).     Pursuant to the Appointments Clause, the

President “may be assisted in carrying out” his duties “by officers nominated by him and confirmed

by the Senate, as well as by other officers not appointed in that manner but whose work … must be

directed and supervised by an officer who has been.”    United States v. Arthrex, Inc., 594 U.S. 1, 6

(2021); U.S. Const. art II, § 2, cl. 2.

        The President’s Article II duty to “take Care that the Laws be faithfully executed,” U.S.

Const. art. II, § 3, “grants him the concomitant authority to designate acting officers” to “keep the

Government running.” Temporary Presidential Designation of Acting Bd. Members of Inter-Am.

Found. & U.S. African Dev. Found., 49 Op. O.L.C. __, at 1, 10 (Mar. 14, 2025) (slip op.)

(“Temporary Presidential Designation”). The President “functionally could not exercise his Take

Care authority” if he were unable to “task a politically accountable official to fill … agencies’

leadership positions in an acting capacity[.]”     Id. at 9.   The authority also flows from the
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“structural safeguards” of political accountability reflected in the Appointments Clause. Edmond

v. United States, 520 U.S. 651, 659 (1997). The power to designate acting officials ensures the

President can “temporarily maintain the constitutional chain of supervision over an organization

created by Congress to perform executive functions.” Temporary Presidential Designation, 49

Op. O.L.C. __, at 1. Absent that “clear and effective chain of command, the public cannot

‘determine on whom the blame or the punishment of a pernicious measure, or series of pernicious

measures ought really to fall.’” Free Enter. Fund, 561 U.S. at 498 (quoting The Federalist No. 70,

at 467 (J. Cooke ed. 1961) (A. Hamilton)).

        Given those serious constitutional concerns, the Office of Legal Counsel in Administrations

of both parties has long recognized that, “at least where no statute precludes it,” Article II authorizes

the President to designate acting officials to supervise agencies’ operations temporarily.

Temporary Presidential Designation, 49 Op. O.L.C. __, at 1, 4; see also Authority of the President

to Remove the Staff Director of the Civil Rights Commission and Appoint an Acting Staff Director,

25 Op. O.L.C. 103, 103 (2001); Memorandum for Neil Eggleston, Associate Counsel to the

President, from Walter Dellinger, Assistant Attorney General, Office of Legal Counsel, Re:

Appointment of an Acting Staff Director of the United States Commission on Civil Rights (Jan. 13,

1994), https://www.justice.gov/olc/page/file/1311936/dl?inline (“Dellinger Memo”); Power of the

President to Designate Acting Member of the Federal Home Loan Bank Board, 1 Op. O.L.C. 150,

151 (1977) (“Home Loan Bank Board”). That longstanding and unbroken view of the Executive

power is matched by equally longstanding historical practice. See Home Loan Bank Board, 1 Op.

O.L.C. at 151 (noting a consistent “governmental practice going back more than a century”);

Dellinger Memo, at 2–3 & n.3 (detailing historical practice dating to the founding); accord

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring)

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(“congressional inertia, indifference or quiescence may sometimes, at least as a practical matter,

enable, if not invite, measures on independent presidential responsibility”).

       Plaintiff does not dispute that the President lawfully exercised his Article II powers when

he removed Ms. Hayden as Librarian of Congress. And Plaintiff points to no statute prohibiting

the President from designating an acting Librarian to replace her. 2 Instead, Plaintiff’s theory

appears to be that the President may only designate acting officials if Congress has affirmatively

granted him such authority by statute, such as through the FVRA. Pl.’s Mem. 6. That would

upend the Constitution. The President “alone and unaided could not execute the laws. He must

execute them by the assistance of subordinates.” Myers v. United States, 272 U.S. 52, 117 (1926).

That includes the power to install subordinates—subject in some cases to statutory restrictions on

who is eligible to serve in particular roles. The FVRA is the most well-known such limitation, but

it is “not a source, but rather a regulation” of the President’s installation power. Home Loan Bank

Board, 1 Op. O.L.C. at 151. Should that statute not apply here as Plaintiff contends, all that means

is that the President had greater authority to take the contested actions rather than less.

       The FVRA’s “exclusive[ity]” provision does not dictate a different outcome. Cf. Pl.’s

Mem. 7. That provision simply makes clear that when the FVRA applies, then its rules provide

“the exclusive means for temporarily authorizing an acting official to perform the functions and

duties of any office of an Executive agency….” 5 U.S.C. § 3347(a) (emphasis added). That



       2
          Plaintiff references Library of Congress regulations (which are not published in the Code
of Federal Regulations) that provide that the Principal Deputy Librarian becomes acting Librarian
if the Librarian is no longer able to serve. Compl. at 2; Decl. of Shira Perlmutter ¶ 6, ECF No. 2-
3; see LCR 1-120 (attached hereto). To state the obvious, federal establishments do not have
independent power to insulate themselves from presidential control—whether by internal
regulations or any other means. Congress might to able to cabin and direct the President’s
constitutional powers; the Library of Congress cannot.
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provision makes clear that within its ambit, the FVRA constrains the President’s installation power.

But it does not in any sense purport to limit the President’s authority over executive branch entities

outside the FVRA’s scope altogether.

       Plaintiff invokes the four-decade-old decision in Williams v. Phillips, 360 F. Supp. 1363

(D.D.C. 1973), which concluded that the President lacked authority to appoint an acting director of

the Office of Economic Opportunity (“OEO”) without statutory permission, absent an emergency.

Id. at 1367–71. The D.C. Circuit did not agree. To the contrary, it acknowledged “[i]t could be

argued that the intersection of the President’s constitutional obligation to ‘take care that the laws

be faithfully executed’ and his obligation to appoint the director of OEO ‘with the Advice and

Consent of the Senate’ provides the President an implied power, in the absence of limiting

legislation … to appoint an acting director for a reasonable period of time before submitting the

nomination of a new director to the Senate.” Williams v. Phillips, 482 F.2d 669, 670 (D.C. Cir.

1973). Ultimately, the D.C. Circuit declined to stay the district court’s order solely on the ground

that the acting director of the OEO had been in that position for a “four-and-a-half month period”

without any nominee being submitted to the Senate, as that was not a “reasonable time” for the

President to appoint an acting official without nominating a replacement. Id. at 671.        Nothing

close to that scenario is presented here: President Trump designated Mr. Blanche to be the acting

Librarian on May 9—under three weeks ago—and there is no basis to assume he will not move

swiftly to nominate a permanent Librarian.3




       3
            Plaintiff cites National Labor Relations Board v. SW General, Inc., 580 U.S. 288 (2017),
for its statement that Congress has given Presidents “limited authority to appoint acting officials to
temporarily perform the functions of a vacant … office without first obtaining Senate approval.”
Pl.’s Mem. 6 (SW Gen., Inc., 580 U.S. at 294). That decision construed the scope of the FVRA’s
prohibition on a person serving as an acting official while simultaneously being nominated to fill
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                                           *      *       *

       The President lawfully designated Mr. Blanche as acting Librarian and, as Plaintiff

concedes, Mr. Blanche’s appointment of “Mr. Perkins to replace Ms. Perlmutter as the acting

Register of Copyrights and the Director of the U.S. Copyright Office … served as Mr. Blanche’s

ratification of the President’s decision to remove Ms. Perlmutter from her position.” Compl. ¶ 23.

Nothing more is needed to hold that Plaintiff’s removal was lawful, and for the Court to deny the

temporary restraining order.

       B.      Alternatively, the President lawfully removed Plaintiff as Register of
               Copyrights (Count II).

       If Plaintiff were correct that the President lacked the authority to designate Mr. Blanche as

acting Librarian, the Court should deny the requested temporary restraining order because the

President had Article II authority to terminate the Register of Copyrights directly.

       “[A]s a general matter,” the executive power encompasses “the authority to remove those

who assist [the President] in carrying out his duties.”   Free Enter. Fund, 561 U.S. at 513–14; cf.,

Collins v. Yellen, 594 U.S. 220, 250 (2021) (finding acting Department Head to be removable at

will even when the Department Head otherwise had statutory removal protections). Without such

power, the President would be unable to control those who aid him in executing the laws and “could

not be held fully accountable for discharging his own responsibilities.”     Free Enter. Fund, 561

U.S. at 514.   For nearly a century, the Supreme Court has reaffirmed “[t]he President’s power to

remove—and thus supervise—those who wield executive power on his behalf.” Seila Law, 591

U.S. at 204 (citing Myers, 272 U.S. 52).




the same vacancy. See 580 U.S. at 293, 299–309. The Court did not purport to address the
President’s general constitutional power to designate acting officials.
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       Normally, the President exercises supervisory authority over inferior officers—like the

Register of Copyrights—by exercising control over the principal officer (here, the Librarian of

Congress). No one doubts, for example, that the President could direct the Librarian of Congress

to remove the Register of Copyrights. See Nat’l Treasury Emps. Union v. Reagan, 663 F.2d 239,

247–48 (D.C. Cir. 1981). But that normal approach is not absolute: if the President is unable to

appoint an acting principal officer upon removal of the principal officer, then Article II supplies the

background rule, and the President has the constitutional authority—and obligation—to oversee

and supervise the inferior officer until a new principal officer is installed. The Constitution does

not confer autonomous status on executive entities that lack component heads.

       Here, the President exercised his Article II authority to remove the Librarian of Congress

from office. If Plaintiff is correct that the President cannot designate an acting Librarian, then the

President’s supervisory and removal powers must extend to the inferior officers in the Library of

Congress—particularly inferior officers like the Register of Copyrights that wield significant

executive power. Only the President is “charged specifically to take care that [the laws] be

faithfully executed” and the “reasonable implication” is that “he should select those who were to

act for him under his direction in the execution of the laws.” Myers, 272 U.S. at 117. Saddling

the President with a Register of Copyrights over whom he has no say would give the Senate an

effective veto over the “President’s power to remove—and thus supervise—those who wield

executive power on his behalf,” which is precisely the type of infringement on Article II that the

Supreme Court rejected “in the landmark decision [of] Myers.” Seila Law, 591 U.S. at 204; see

Myers, 272 U.S. at 161 (Congress lacks “the power to remove or the right to participate in the

exercise of that power”). The President must have the authority to remove the leadership of an

agency because it is “‘only the authority that can remove’ such officials that they ‘must fear and, in

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the performance of [their] functions, obey.’” Seila Law, 591 U.S. at 213–14 (quoting Bowsher v.

Synar, 478 U.S. 714, 726 (1986)).4

       In short, if the President cannot designate an acting Librarian to remove Plaintiff from

serving as Register of Copyrights, then the President retains the authority to remove Plaintiff

himself.

II.    Plaintiff has not met her burden of showing irreparable harm.

       Merits aside, the Court can deny the requested temporary restraining order on the

straightforward, independent ground that Plaintiff failed to satisfy her heavy burden of establishing

that she will be irreparably harmed by her termination.5 See Alpine Sec. Corp. v. Fin. Indus. Reg.

Auth., 121 F.4th 1314, 1336 (D.C. Cir. 2024) (“A movant’s failure to show any irreparable harm

is … grounds for refusing to issue a preliminary injunction” (quoting Chaplaincy of Full Gospel

Churches, 454 F.3d at 297)); Dotson v. District of Columbia, No. 24-cv-1864, 2024 WL 5046282,

at *6 (D.D.C. Dec. 9, 2024) (same). “The irreparable injury requirement sets a ‘very high bar’ for

a movant seeking” a temporary restraining order. English, 279 F. Supp. 3d at 333 (quoting Coal.


       4
         The Library of Congress regulations Plaintiff references do not change the analysis.
Foremost and as explained in note 2, supra, the Library plainly cannot create its own internal
governance regime to insulate itself from presidential control. Nor is it even clear the regulations
apply here, as they apply only “in the Librarian’s absence or temporary unavailability.” See LCR
1-120(1) (attached hereto). Having been removed from office, the former Librarian is not
“temporarily unavailable.” Nor is she “absent”—a term that likewise has a temporal component
and connotes an eventual return.
       5
          Plaintiff argues that “[i]n assessing whether the plaintiff has suffered an irreparable harm,
this Court must assume that Ms. Perlmutter has demonstrated a likelihood the Defendants’ conduct
violates the law.” Pl.’s Mem. 10 n.7 (citing Chaplaincy of Full Gospel Churches v. England, 454
F.3d 290, 303 (D.C. Cir. 2006)). That is wrong—“even after Chaplaincy, courts have held that
the presence of irreparable harm can depend on whether the movant is likely to succeed on the
merits.” English, 279 F. Supp. 3d at 333 (collecting cases). In any event, Plaintiff does not come
close to establishing irreparable harm even on the assumption she has shown a likelihood of success
on the merits.

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for Common Sense in Gov’t Procurement v. United States, 576 F. Supp. 2d 162, 168 (D.D.C. 2008)).

The “high standard for irreparable injury,” Chaplaincy of Full Gospel Churches, 454 F.3d at 297—

even higher here insofar as Plaintiff has requested a mandatory injunction that would alter the status

quo, Phillip v. Fairfield Univ., 118 F.3d 131, 133 (2d Cir. 1997)—requires a two-fold showing:

First, because an irreparable injury “must be both certain and great,” Plaintiff “must show ‘[t]he

injury complained of is of such imminence that there is a ‘clear and present’ need for equitable

relief to prevent irreparable harm.’” Chaplaincy of Full Gospel Churches, 454 F.3d at 297

(quoting Wis. Gas Co. v. Fed. Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985)).

Second, “the injury must be beyond remediation.” Id. None of the supposed injuries Plaintiff

lists satisfies these demanding requirements.

         Plaintiff first argues that she will be irreparably harmed by being “deprive[d] of her

‘statutory right to function’ in the role that the Librarian of Congress has lawfully appointed her to

perform.” Pl.’s Mem. 10 (quoting Harris v. Bessent, ---F. Supp. 3d---, 2025 WL 679303, at *13

(D.D.C. Mar. 4, 2025), appeal filed, No. 25-5055 (D.C. Cir. Mar. 4, 2025). Just last week, the

Supreme Court directly rejected that theory of injury as a sufficient ground for emergency

injunctive relief. In a decision handed down the very day Plaintiff filed her Complaint, the Court

stayed the injunctions entered in the Bessent cases Plaintiff invokes (as well as other similar district

court injunctions), explaining that “the Government faces greater risk of harm from an order

allowing a removed officer to continue exercising the executive power than a wrongfully removed

officer faces from being unable to perform her statutory duty.” Wilcox, 2025 WL 1464804, at *1.

That holding categorically rejects Plaintiff’s theory of harm as a basis for a temporary restraining

order.

         The Supreme Court’s ruling did not arise in a vacuum—it solidifies the longstanding rule

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that, absent a “genuinely extraordinary situation,” loss of employment does not constitute

irreparable harm, Sampson, 415 U.S. at 92 n.68—which is what Plaintiff’s “statutory right to

function” argument is all about. Although a public official’s “loss of salary” amounts to a

judicially cognizable harm, his “loss of political power” does not. Raines v. Byrd, 521 U.S. 811,

821 (1997); Dellinger v. Bessent, No. 25-5052, 2025 WL 887518, at *3-4 (D.C. Cir. Mar. 10, 2025)

(granting a stay pending appeal, giving effect to the removal of appellee from his position as Special

Counsel for the U.S. Office of Special Counsel); see also Hetreed v. Allstate Ins. Co., 135 F.3d

1155, 1158 (7th Cir. 1998); Davis v. Billington, 76 F. Supp. 3d 59, 65–66 (D.D.C. 2014) (collecting

cases). Indeed, “[c]ases are legion holding that loss of employment does not constitute irreparable

injury.” English, 279 F. Supp. 3d at 334 (quoting Farris, 453 F. Supp. 2d at 79–80).

       This rule is not limited to low-level employees. Courts have repeatedly rejected the notion

that the deprivation of a unique, singular, or high-level position is somehow a more irreparable

injury. See Hetreed, 135 F.3d at 1158 (loss of position as senior manager leading audit department

not irreparable injury); Marxe v. Jackson, 833 F.2d 1121, 1122–28 (3d Cir. 1987) (division

manager); Rubino v. City of Mount Vernon, 707 F.2d 53 (2d Cir. 1983) (mayoral-appointed City

Assessor); Franks v. Nimmo, 683 F.2d 1290, 1291 (10th Cir. 1982) (Associate Chief of Staff for

Research and Development position at Department of Veterans Affairs Medical Center); EEOC v.

City of Janesville, 630 F.2d 1254, 1256 (7th Cir. 1980) (Chief of Police); Levesque v. Maine, 587

F.2d 78, 79 (1st Cir. 1978) (Maine Commissioner of Manpower); Brehm v. Marocco, Civ. A. No.

25-0660, 2025 U.S. Dist. LEXIS 71326 (D.D.C. Mar. 11, 2025) (president of U.S. Africa

Development Foundation); Nichols v. Agency for Int’l Dev., 18 F. Supp. 2d 1, 2, 4 (D.D.C. 1998)

(Chief of Information Management Systems, Office of Inspector General); Burns v. U.S. Gen. Act.

Off. Emps. Fed. Credit Union, Civ. A. No. 88-3424, 1988 WL 134925, at *1–2 (D.D.C. Dec. 2,

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1988) (President of Credit Union Board of Directors).

       Should the Court ultimately determine that Plaintiff’s removal was unlawful, then she can

obtain monetary relief in the form of back pay. Plaintiff is suing in her personal capacity and is

eligible to obtain all the relief she is personally due, but those harms are not irreparable ones that

can support immediate injunctive intervention. English, 279 F. Supp. 3d at 335 (any harm that an

agency director suffered from removal “can be remediated in the ordinary course of this case”);

Davis, 76 F. Supp. 3d at 65 (“The plaintiff fails to meet this high standard as he has no concrete

proof that the vacancy . . . will not be available when this matter is ultimately resolved.”).

       Nor is there anything “extraordinary” about Plaintiff’s situation that could change the usual

rules. Sampson, 415 U.S. at 92 n.68. This case is nothing like Berry v. Reagan, Civ. A. No. 83-

3182, 1983 WL 538 (D.D.C. Nov. 14, 1983), vacated as moot, 732 F.2d 949 (D.C. Cir. 1983),

which deemed harm from removal to be irreparable because the agency itself was, by law, set to

terminate within a few weeks—meaning the plaintiff commissioners could not be re-appointed to

their posts if their removals were eventually deemed unlawful. Id. at *5; see English, 279 F. Supp.

3d at 335 (“in Berry, absent an injunction, any harm suffered by the commissioners was plainly

irreparable because the commission would have expired and they could not have been reinstated to

it”). Here, by contrast, Plaintiff’s argument that she “suffers harm solely from not functioning as

the [Register] … cannot succeed because any such harm can be remediated in the ordinary course

of the case,” English, 279 F. Supp. 3d at 335—the Library of Congress is not set to disappear. And

the same goes for Plaintiff’s supposed injury of being “prevented from performing the legislative

functions that are assigned to her.” Pl.’s Mem. 11.

       Plaintiff’s remaining theories of irreparable harm posit injury to others—not herself. For

example, Plaintiff says that without an injunction, there will be “continued confusion as to who is

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in control,” a “report as expected by Congress” will not be completed (at least, not as quickly), and

separation-of-powers concerns will arise by giving executive branch officials “access to the Library

of Congress’s confidential research for Members of Congress and confidential congressional

records.” Pl.’s Mem. 11–12. Even if those wildly speculative harms materialized, they are

institutional harms to either the Library or to Congress. But Plaintiff “must demonstrate the

likelihood of irreparable harm to her if an injunction does not issue.” English, 279 F. Supp. 3d at

335 (emphasis in original); Brehm, 2025 U.S. Dist. LEXIS 71326, at *6-7 (denying the plaintiff a

temporary restraining order to stop his removal as President of the U.S. Africa Development

Foundation for lack of irreparable harm because the plaintiff “has not identified any cognizable

irreparable harm to himself as opposed to potential harm to the agency and its partners”).

       Plaintiff cannot transform those admittedly “institutional harm[s]” into her own on the

theory that they “will be such that [she] would be unable to return to her position as it currently

exists.” Pl.’s Mem. 13 (emphasis added). Plaintiff would not be irreparably harmed if she were

reinstated and the Library was not exactly as when she left it. Nor do any of the cases she cites

support that sweeping theory of irreparable harm. Instead, in both Berry and Aviel v. Gor, ---F.

Supp. 3d ---, 2025 WL 1009035, at *10 (D.D.C. Apr. 4, 2025), appeal filed, No. 25-5105 (D.C. Cir.

Apr. 7, 2025), the district courts deemed harm irreparable because the relevant agency would be

virtually or literally non-existent at the end of the litigation. Plaintiff has not remotely shown as

much here.

III.   The balance of harms and the public interest weigh against injunctive relief.

       A party seeking a temporary restraining order must also demonstrate “that the balance of

equities tips in [its] favor, and that an injunction is in the public interest.” Winter, 555 U.S. at 20.

“These factors merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418,

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435 (2009).

       The balance of harms decisively favors Defendants. The Supreme Court has made its

“judgment” clear that “the Government faces greater risk of harm from an order allowing a removed

officer to continue exercising the executive power than a wrongfully removed officer faces from

being unable to perform her statutory duty.” Wilcox, 2025 WL 1464804, at *1. This clear

statement from the Supreme Court last week is equally dispositive here.

       In addition, the balance of equities and the public interest tip strongly in favor of the

Government, for “the public interest favors applying federal law correctly.” Small v. Avanti Health

Sys., LLC, 661 F.3d 1180, 1197 (9th Cir. 2011). As discussed above, Mr. Blanche was lawfully

designated acting Librarian, and Plaintiff was lawfully removed from her prior position as Register

of Copyrights. Granting the extraordinary relief Plaintiff requests would mark a severe intrusion

into the President’s authority to exercise “all of” the “executive Power” of the United States. Seila

Law, 591 U.S. at 203.

       Finally, in seeking an order reinstating her as Register of Copyrights, Plaintiff seeks to

change the status quo. Injunctions that “‘would change the status quo’ are disfavored as ‘an even

more extraordinary remedy’ than the typical preliminary injunction, … ‘especially when directed

at the United States Government.’” Strait Shipbrokers Pte. Ltd. v. Blinken, 560 F. Supp. 3d 81,

92–93 (D.D.C. 2021) (quoting Abdullah v. Bush, 945 F. Supp. 2d 64, 67 (D.D.C. 2013), and Sierra

Club v. Johnson, 374 F. Supp. 2d 30, 33 (D.D.C. 2005)). Injunctions that alter the status quo, on

balance, favor the non-movant.      See, e.g., Davis, 76 F. Supp. 3d at 68; Elite Ent., Inc. v.

Reshammiya, Civ. A. No. 08-0641, 2008 WL 9356287, at *4 (D.D.C. Apr. 18, 2008). The third

and fourth factors thus also weigh against granting injunctive relief.



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IV.       Plaintiff has no cause of action and no right to the relief she seeks.

          Aside from the lack of substantive merit to Plaintiff’s claims, two additional obstacles

further undermine Plaintiff’s likelihood of success:        lack of a cause of action and lack of

entitlement to the relief she seeks.

          First, Plaintiff’s action appears to be an attempted end-run around the requirements and

restrictions for bringing a quo warranto action. The federal quo warranto statute, which Congress

codified for historical reasons in the D.C. Code, provides a civil action against any person who,

within the District of Columbia, “usurps, intrudes into, or unlawfully holds or exercises . . . a public

office of the United States, civil or military.” D.C. Code § 16-3501. The D.C. Circuit has

indicated that the quo warranto statute is the sole means by which an interested party may make a

direct attack on the authority of another person to perform the duties of a public office (as opposed

to an indirect attack on his or her official actions). See SW Gen., Inc. v. Nat’l Lab. Rels. Bd., 796

F.3d 67, 81 (D.C. Cir. 2015) (“The de facto officer doctrine allows [direct] attacks [on an officer’s

authority,] but they can be brought via writ of quo warranto only.”), aff’d, 580 U.S. 288 (2017).

Plaintiff’s failure to satisfy the requirements for a direct challenge to Mr. Blanche’s (or anyone

else’s) authority to perform his duty as an acting official itself prevents her from prevailing on the

merits.

          Second, even if the President’s designation of Mr. Blanche as acting Librarian and his

removal of Plaintiff were not lawful, this Court still should not grant Plaintiff’s motion to the extent

that she seeks injunctive and declaratory relief against the President himself. For a century and a

half, the Supreme Court has maintained that courts, “in general,” have “no jurisdiction of a bill to

enjoin the President in the performance of his official duties.” Franklin v. Massachusetts, 505 U.S.

788, 802–03 (1992) (plurality opinion) (quoting Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 501

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(1866)); see also id. at 826–27 (Scalia, J., concurring). A “District Court’s grant of injunctive

relief against the President himself is extraordinary, and should . . . raise judicial eyebrows.” Id.

at 802 (plurality opinion). “[S]imilar considerations regarding a court’s power to issue relief

against the President himself apply to [a] request for a declaratory judgment.” Swan v. Clinton,

100 F.3d 973, 976 n.1 (D.C. Cir. 1996). Granting Plaintiff’s requested relief would “at best

create[] an unseemly appearance of constitutional tension and at worst risk[] violation of the

constitutional separation of powers.” Id. at 978. For that reason, too, the Court should deny relief.

                                         CONCLUSION

         For these reasons, the Court should deny Plaintiff’s motion for a temporary restraining

order.

Dated: May 26, 2025                           Respectfully submitted,

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